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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


AIDS Vaccine Advocacy Coalition,
et al.,

          Plaintiffs,                      Civil Action No. 25-400

           v.

U.S. Department of State, et al.,

          Defendants.


                           NOTICE OF APPEARANCE

      Please enter the appearance of Allison M. Zieve as counsel for Plaintiff.

Dated: February 10, 2025                    Respectfully submitted,

                                            /s/ Allison M. Zieve
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